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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                         OCALA DIVISION

GERALD HAMILTON, ​ ​      ​
and ELIZABETH HAMILTON​​
     ​    ​     ​       ​ ​
          Plaintiffs, ​ ​ ​
                                     ​     Case No.
     v. ​ ​    ​      ​  ​
​    ​    ​    ​      ​  ​
MEB REAL ESTATE​      ​  ​
MANAGEMENT, INC., ​ ​    ​
SALT SPRINGS VILLAGE,LLC​​
ROGER ST. MARTIN, and ​ ​
CAROL ST. MARTIN​      ​ ​
 ​   ​    ​    ​      ​  ​
 ​   ​    Defendants. ​  ​


                           COMPLAINT
                    AND DEMAND FOR JURY TRIAL

                       PRELIMINARY STATEMENT

      1.​   Plaintiffs GERALD HAMILTON AND ELIZABETH HAMILTON

(“Plaintiffs”), bring this action to challenge unlawful housing discrimination

under the Fair Housing Act and the Florida Fair Housing Act against MEB REAL

ESTATE MANAGEMENT, INC. SALT SPRINGS VILLAGE, LLC, ROGER ST.

MARTIN, and CAROL ST. MARTIN (Defendants). This case arises from

Defendants’ refusal to rent a residential lot to Plaintiffs based on their race,

imposing inconsistent rental criteria and applying discriminatory housing
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practices that denied Plaintiffs equal housing opportunities.

      2.​   Under federal and state law, housing providers are prohibited from

refusing to rent or otherwise making housing unavailable based on race.

Defendants knowingly and intentionally denied Plaintiffs’ rental application

while approving similarly situated white applicants with equal or lower

qualifications. Despite meeting the stated rental criteria, Plaintiffs were subjected

to arbitrary denials, misleading justifications, and unequal treatment in direct

violation of the protections afforded under the Fair Housing Act and Florida Fair

Housing Act.

      3.​   Defendants’ refusal to rent to Plaintiffs, along with their application

of inconsistent screening standards, is a violation of the Fair Housing Act, which

prohibits discrimination in housing transactions. By rejecting Plaintiffs’ rental

application while approving less-qualified white applicants, Defendants engaged

in unlawful race-based discrimination, depriving the Plaintiffs of their right to

fair housing.

      4.​   The Florida Commission on Human Relations (“FCHR”) conducted

an investigation and found reasonable cause to believe that Defendants engaged

in discriminatory housing practices. The investigation revealed that Defendants

imposed racially biased rental decisions, denied Plaintiffs equal access to



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housing, and failed to provide a consistent and transparent application process.

      5.​   Plaintiffs   seek   declaratory   relief,   an   injunction    preventing

Defendants from continuing discriminatory practices, and damages for the

emotional and financial harm suffered due to Defendants’ violations. Plaintiffs

further seek punitive damages to deter Defendants and other landlords from

engaging in similar misconduct in the future.

                                   JURISDICTION

      6.​   This Court has original jurisdiction over Plaintiffs’ claims

 pursuant to 28 U.S.C. § 1331 (federal question) based on a claim under the

 Fair Housing Act 42 U.S.C. § 3613 (Fair Housing).

      7.​   This Court also has supplemental jurisdiction under 28 U.S.C. §

 1367, over Plaintiffs’ claims under the Florida Fair Housing Act, §760.20,

 et. seq.

                                     VENUE

      8.​   Venue is proper in the Middle District of Florida, Ocala Division

pursuant to 28 U.S.C. § 1391(b)(2) because a substantial portion of the events

upon which the Complaint is based arose in the District, and Defendants conduct

business there.

                                       PARTIES



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​     9.​    Plaintiffs, GERALD HAMILTON and ELIZABETH HAMILTON are

residents of the State of Florida.

      10.​   Defendant, SALT SPRINGS VILLAGE, LLC, (“SALT SPRINGS

VILLAGE”) is a Florida Limited Liability Company doing business as a landlord

in Marion County, Florida.

      11.​   SALT SPRINGS VILLAGE is a registered business in the State of

Florida and is authorized to conduct business in the State of Florida.

      12.​   SALT SPRINGS VILLAGE’s principal place of business is located at

13665 N.E. 253rd Court, Salt Springs, Florida 32134.

      13.​   SALT SPRINGS VILLAGE owns the property known as Salt Springs

Village (the “Property”) located at 25271 NE 137th Place Lot C15, Salt Springs,

Florida 32134.

      14.​   Defendant, MEB REAL ESTATE MANAGEMENT, INC. (“MEB

REAL ESTATE MANAGEMENT”) is a Florida for Profit Corporation doing

business as a property manager in Marion County, Florida.

      15.​   Defendant MEB REAL ESTATE MANAGEMENT is a registered

business in the State of Florida and is authorized to conduct business in the State

of Florida. MEB REAL ESTATE’s principal place of business is located at 2113

Everglades Lane, Suite #137, The Villages, FL 32613.


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      16.​   Defendant MEB REAL ESTATE MANAGEMENT manages the

Property on behalf of SALT SPRINGS VILLAGE and serves as SALT SPRINGS

VILLAGE’s agent.

      17.​   Defendants ROGER ST. MARTIN and CAROL ST. MARTIN are

employees of SALT SPRINGS VILLAGE and MEB REAL ESTATE

MANAGEMENT. Defendant ROGER ST. MARTIN is the Sales Agent of MEB

REAL ESTATE. Defendant Carol ST. MARTIN is the Sales Agent of MEB REAL

ESTATE.

      18.​   SALT SPRING VILLAGE, MEB REAL ESTATE, ROGER ST.

MARTIN, and CAROL ST. MARTIN are collectively referred to as “Defendants”

herein.


                STATUTORY AND REGULATORY FRAMEWORK

      19.​   Under Title VIII of the Civil Rights Act of 1968 (“the Fair Housing

Act”), 42 U.S.C. § 3601 et seq., as amended by the Fair Housing Amendments

Act of 1988, it is unlawful to discriminate against any person in the terms,

conditions, or privileges of sale or rental of a dwelling, or in the provision of

services of facilities connection therewith because of race, color, religion, sex,

disability, familial status, or national origin. 42 U.S.C. § 3604(b).

​     20.​   The Florida Fair Housing Act, Florida Statute 760.23(2) closely

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mirrors the Federal Fair Housing Act stating “it is unlawful to discriminate

against any person in the terms, conditions, or privileges of sale or rental of a

dwelling, or in the provision of services or facilities in connection therewith,

because of race, color, national origin, sex disability, familial status, or national

origin.”

                                          FACTS

      21.​   Plaintiffs, ELIZABETH HAMILTON and GERALD HAMILTON are a

Black/African American couple seeking housing in Salt Springs Village, a

residential community owned and managed by Defendants.​

      22.​   On July 5, 2021, Plaintiffs visited SALT SPRING VILLAGE to view a

lot for rental. They met with Defendants ROGER ST. MARTIN and CAROL ST.

MARTIN.

      23.​   On July 6, 2021, Plaintiffs returned to the SALT SPRINGS VILLAGE

property to inquire further about the rental process and met with Defendants ST.

MARTIN.

​     24.​   On July 6, 2021, during the visit, Plaintiffs were provided with a rent

disclosure statement, which outlined the lot number, monthly rental fees, and

instructions for making payment by Defendants ST. MARTIN. The disclosure

statement did not include any indication of a minimum required credit score for



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approval.

​     26.​   Defendants ST. MARTIN represented to Plaintiffs during the

interaction that the only requirement for approval was a credit score of

approximately 600-620. Relying on this representation, Plaintiffs submitted their

rental application on the same day.

​     27.​   At the time of the submission of the application the Plaintiffs

combined credit score of 598.5.

      28.​   On July 27, 2021, Plaintiffs were informed by Defendants that their

rental application had been denied. Defendants stated that the denial was due to

issues with Plaintiffs’ credit score.

      29.​   On August 8, 2021, Plaintiffs received an official denial letter dated

July 15, 2021. The July 15, 2021 letter stated that Defendants had decided not to

enter into a land lease agreement with Plaintiffs based on information contained

in a consumer report. However, the letter failed to provide any specific details

regarding the contents of the consumer report that led to the denial.

      30.​   Defendants’ failure to adequately explain the basis for their decision,

combined with the conflicting information provided during the application

process, has caused Plaintiffs significant confusion, frustration, and harm.




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       Analysis Determination Findings of the Florida Commission on
                            Human Relations

       31. ​ On July 7, 2022, Plaintiffs filed a complaint (attached as “Exhibit A”)

with the United States Department of Housing and Urban Development (“HUD”)

alleging discriminatory practices in the rental process by Defendants. The

complaint was filed as HUD No. 04-23-4035-8; FCHR No. 202336801. HUD

assigned the matter to the Florida Commission on Human Relations (“FCHR”) to

investigate.

       32.​    Pursuant to 42 U.S.C. §3613(a)(1)(B), the two year-statue of

limitations to file a lawsuit under the Fair Housing Act is tolled during the

pendency of an administrative proceeding concerning a complaint or charge

related to a discriminatory practice. This provision ensures that the time spent

pursuing administrative remedies does not diminish the period available for

filing a civil action. Accordingly, the time during which the FCHR investigated

Plaintiffs complaint is excluded from the computation of the two-year period for

filing this lawsuit.

       33.​    On November 8, 2024, FCHR filed and served a Notice of

Determination finding that Defendants applied inconsistent rental criteria,

approving less-qualified Caucasian applicants while denying Black applicants,


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including Plaintiffs.

      34.​   FCHR found Defendants’ discriminatory practices violated Section

760.23(2) of the Florida Fair Housing Act by denying the Plaintiffs’ application

for housing based on race.

      35.​   FCHR’s investigation also found that a Caucasian applicant with

similar qualifications and a lower credit score than the Plaintiffs was approved

for housing by Defendants.

      36.​   FCHR’s investigation found that Defendants inconsistently applied

their credit score requirement. Plaintiffs were denied primarily due to an

insufficient combined credit score of 598.5 which was below the 620 threshold.

However, FCHR found documentation showing that there was another

Causacian applicant who was approved in April 2021 despite having a lower

credit score of 592 compared to Plaintiffs.

      37.​   Plaintiffs were the only applicants denied housing by Defendants in

2021, during which Defendants received 23 applications for residency between

February and December.

      38.​   Defendants used two separate consumer reporting agencies to screen

applicants without providing justification. FCHR found this practice employed by

Defendants to lack consistency and transparency.



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        39.​   Defendants claimed they denied Plaintiffs’ application due to

 negative feedback from Plaintiffs’ prior landlord, who cited property maintenance

 issues and because of this the prior landlord chose not to renew the Plaintiffs’

 tenancy.

        40.​   FCHR determined that Defendants’ guidelines, as set forth in the

 Salt Springs Village Mobile Park Approval Guidelines, do not include landlord

 references as a criterion for eligibility.

        41.​   The guidelines only require that applicants have no history of

 eviction or foreclosure. Plaintiffs have no such history.

        42.​   FCHR     found    cause    to    hold     that   Defendants   engaged    in

 discriminatory housing practices, violating Section 760.23(2), Florida Statutes.

 FCHR’s conclusion was based on Defendants’ inconsistent application of

 evaluation criteria and their knowledge of Plaintiffs’ protected class.

        43.​   On November 22, 2024 Plaintiffs submitted an Election of Rights

 Form (attached as “Exhibit B”) for Housing Discrimination Complaints to FCHR,

 formally electing to pursue judicial relief in lieu of continued administrative

 proceedings. Plaintiffs’ withdrew their Complaint from FCHR and now bring this

 action before the Court to seek appropriate legal remedies.




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                              CLAIM FOR RELIEF

                            COUNT I
         REFUSAL TO SEEL OR RENT/OTHERWISE DENY OR MAKE
                    HOUSING UNAVAILABLE
                       42 U.S.C. §3604(b)

       44.​   Paragraph 1 through 43 are incorporated herein as if fully set forth.

       45.​   Defendants had actual knowledge of Plaintiffs’ racial background.

 Plaintiffs submitted their application on July 13, 2021 accompanied by

 photocopies of each applicant’s photo ID. Plaintiffs provided their photo

 identification as part of their rental application, and Defendants personally

 interacted with them on multiple occassions.

       46.​   According to the investigation conducted by FCHR, Defendants did

 not consistently apply the same requirements to other applicants.

       47.​   The investigation found that Defendants inconsistently applied their

 credit score requirement. Plaintiffs were denied primarily due to an insufficient

 combined credit score of 598.5 which was below the 620 threshold. However,

 FCHR found documentation showing that there was another Causacian applicant

 who was approved in April 2021 despite having a lower credit score of 592

 compared to Plaintiffs.

       48. ​ The investigation from FCHR confirmed that Defendants refused to




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 rent to Plaintiffs. A denial letter dated July 15, 2021 informed Plaintiffs that their

 application for a land lease agreement had been declined. The decision, according

 to Defendants, was influenced by the consumer report obtained during the

 application process. The letter advised Plaintiffs that the rejection was completely

 based on the consumer report. However, FCHR’s investigation revealed that

 Plaintiffs were never informed about the second denial factor being the negative

 reference from the landlord.

       49. ​ SALT SPRING VILLAGES have a policy of conditioning approvals on

 an applicant’s foreclosure or eviction history.

       50.​   SALT SPRING VILLAGES confirms the applicant’s foreclosure or

 eviction history by way of the consumer report, Plaintiffs had no history of

 foreclosure or eviction.

        51. ​ Plaintiffs were in fact ready, willing, and able to rent consistent with

  the practices and requirements for rent of Defendants.

       52.​   Defendants knowingly discriminated against Plaintiffs based on their

 protected class by failing to offer the same terms and conditions for renting as

 those provided to other applicants and offering more favorable terms to similarly

 situated applicants outside Plaintiffs’ protected class.

       53. ​ Defendants were aware of Plaintiffs’ protected class as stated earlier



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 through the photo identification submitted with their rental application and

 personal interactions with Plaintiffs upon their visit to the leasing office.

       54.​   FCHR’s investigation revealed that Plaintiffs were denied residency

 due to a combined credit score of 598.5 below the 620 threshold. However, a

 Caucasian applicant was approved despite having a lower credit score of 592.

       55.​   Additionally, Defendants inconsistently used credit reporting

 agencies, obtaining scores from different agencies for the Caucasian applicant to

 facilitate their approval, while failing to provide a rationale for this inconsistency.

       56.​   In FCHR’s investigation they were provided records from Defendant

 showing all the applicants in 2021. With the exclusion of Plaintiffs, all of the

 applicants of 2021 were identified as Caucasian. Plaintiffs were the only

 applicants denied residency that year. A resident interviewed corroborated the

 absence of African-American or Black residents in the community since at least

 2018. These facts establish that Defendants knowingly and willfully applied

 inconsistent and discriminatory evaluation criteria, denying Plaintiffs equal

 rental terms and conditions afforded to other applicants.

       57.​   Defendants’ action show a knowing and willful refusal to rent or sell

 on the basis of Plaintiffs' protected class. As a direct result of Defendants’

 discriminatory practices, the Plaintiffs were denied equal housing opportunities,



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 causing them harm, including but not limited to emotional distress, financial

 hardship and loss of housing opportunities.

       58.​   Accordingly, Defendants unlawfully and intentionally discriminated

 against Plaintiffs on the basis of their race when they refused to rent their

 property to them, in violation of the Fair Housing Act, 42 U.S.C. § 3604(b).

       59.​   The Fair Housing Act provides a remedy and relief for persons who

 have suffered discrimination under the Act. in 42 U.S.C.A. § 3613(c)(1). The

 Plaintiffs are members of a protected class under the Fair Housing Act, 42

 U.S.C.A. § 3604(b), which prohibits discrimination on the basis of race in

 housing.

       60.​   As a direct and proximate result of Defendants’ refusal to rent to

 Plaintiffs, their actions caused irreparable harm, including but not limited to:

 deprivation of equal housing opportunities, financial hardship due to the loss of

 viable rental option, emotional distress, and humiliation from being subjected to

 discriminatory treatment based on their race. Defendants knowingly and

 intentionally applied inconsistent rental criteria, approving white applicants with

 lower qualifications while denying Plaintiffs’ application under pretextual

 reasoning. Defendants’ discriminatory conduct was willful and carried out with

 full knowledge that their actions violated federal and state fair housing laws.



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 Defendants’ refusal to rent based on race, coupled with their failure to provide a

 consistent and transparent rental process, constitutes a violation of 42 U.S.C.

 §3604(b).


                            COUNT II
      REFUSAL TO SEEL OR RENT/OTHERWISE DENY OR MAKE
                   HOUSING UNAVAILABLE
                      Fla. Stat. §760.23(2)

       61. ​ Paragraph 1 through 43 are incorporated herein as if fully set forth.

       62. ​ Defendants had actual knowledge of Plaintiffs’ racial background.

 Plaintiffs submitted their application on July 13, 2021 accompanied by

 photocopies of each applicant’s photo ID. Plaintiffs provided their photo

 identification as part of their rental application, and Defendants personally

 interacted with them on multiple occassions

       63.​   According to the investigation conducted by FCHR, Defendants did

 not consistently apply the same requirements to other applicants.

        64.​ The investigation found that Defendants inconsistently applied their

  credit score requirement. Plaintiffs were denied primarily due to an insufficient

  combined credit score of 598.5 which was below the 620 threshold. However,

  FCHR found documentation showing that there was another Causacian

  applicant who was approved in April 2021 despite having a lower credit score of




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  592.

         65. ​ The investigation from FCHR confirmed that Defendants refused to

 rent to Plaintiffs. A denial letter dated July 15, 2021 informed Plaintiffs that their

 application for a land lease agreement had been declined. The decision according

 to Defendant was influenced by the consumer report obtained during the

 application process. The letter advised Plaintiffs that the rejection was completely

 based on the consumer report. However, FCHR’s investigation further revealed

 that Plaintiffs were never informed about the second denial factor being the

 negative reference from the landlord.

         66. ​ SALT SPRING VILLAGES have a policy of conditioning approvals on

 an applicant’s foreclosure or eviction history.

         67. ​ SALT SPRING VILLAGES confirms the applicant’s foreclosure or

 eviction history by way of the consumer report, Plaintiffs had no history of

 foreclosure or eviction.

         68. ​ Plaintiffs were in fact ready, willing, and able to rent consistent with

 the practices and requirements for rent of Defendants.

         69.​   Defendants knowingly discriminated against Plaintiffs based on their

 protected class by failing to offer the same terms and conditions for renting as

 those provided to other applicants and offering more favorable terms to similarly



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 situated applicants outside Plaintiffs' protected class.

       70. ​ Defendants were aware of Plaintiffs’ protected class as stated earlier

 through the photo identification submitted with their rental application and

 personal interactions with Plaintiffs upon their visit to the leasing office.

       71.​   FCHR’s investigation revealed that Plaintiffs were denied residency

 due to a combined credit score of 598.5 below the 620 threshold. However, a

 Caucasian applicant was approved despite having a lower credit score of 592.

       72.​   Additionally, Defendants inconsistently used credit reporting

 agencies, obtaining scores from different agencies for the Caucasian applicant to

 facilitate their approval, while failing to provide a rationale for this inconsistency.

       73.​   In FCHR’s investigation they were provided records from Defendant

 showing all the applicants in 2021. With the exclusion of Plaintiffs, all of the

 applicants of 2021 were identified as Caucasian. Plaintiffs were the only

 applicants denied residency in 2021. A resident interviewed corroborated the

 absence of African American or Black residents in the community since at least

 2018. These facts establish that Defendants knowingly and willfully applied

 inconsistent and discriminatory evaluation criteria, denying Plaintiffs equal

 rental terms and conditions afforded to other applicants.

       74.​   Defendants’ action show a knowing and willful refusal to rent or sell



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 on the basis of Plaintiffs' protected class. As a direct result of Defendants’

 discriminatory practices, Plaintiffs were denied equal housing opportunities,

 causing them harm, including but not limited to emotional distress, financial

 hardship and loss of housing opportunities.

       75.​   Accordingly, Defendants unlawfully and intentionally discriminated

 against Plaintiffs on the basis of their race when they refused to rent their

 property to them, in violation of the Florida Fair Housing Act, Fla. Stat.

 §760.23(2)

       76.​   The Florida Fair Housing Act provides a remedy and relief for

 persons who have suffered discrimination under the Act. in Fla. Stat. §760.35(1).

 Plaintiffs are members of a protected class under the Florida Fair Housing Act,

 Fla. Stat. §760.23(2), which prohibits discrimination on the basis of race in

 housing.

       77.​   As a direct and proximate result of Defendants’ refusal to rent to

 Plaintiffs, their actions caused irreparable harm, including but not limited to:

 deprivation of equal housing opportunities, financial hardship due to the loss of

 viable rental option, emotional distress, and humiliation from being subjected to

 discriminatory treatment based on their race. Defendants knowingly and

 intentionally applied inconsistent rental criteria, approving white applicants with



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 lower qualifications while denying Plaintiffs’ application under pretextual

 reasoning. Defendants’ discriminatory conduct was willful and carried out with

 full knowledge that their actions violated federal and state fair housing laws.

 Defendants’ refusal to rent based on race, coupled with their failure to provide a

 consistent and transparent rental process, constitutes a violation of Fla. Stat.

 §760.23(2)

                             REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully requests that this Court:

       A.​    Assume jurisdiction;

       B.​    Adjudge and declare that the actions of Defendants and their agents,

 officials, and employees violated Plaintiffs’ rights under the Fair Housing Act.;

       C.​    Permanently enjoin Defendants, their agents, officials, employees,

 and all persons acting in concert with them from continuing the unlawful acts

 described in this Complaint;

       D.​    Award all damages permitted by law against Defendants, including

 declaratory relief, compensatory and punitive damages;

       E.​    Retain jurisdiction over Defendants until such time as the Court is

 satisfied that the unlawful acts complained of herein no longer exist and will not

 recur; and


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       F.​   Award Plaintiffs, pursuant to 42 U.S.C. § 1988, the costs of this suit

 and reasonable attorneys’ fees and litigation expenses; and

       G.​   Grant such other such relief as this Court deems just and proper.


                          DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury for all counts alleged above.


  Dated: March 31, 2025 ​​       ​      Respectfully submitted,

                                 By:​   /s/ Joseph E. Cordova​ ​       ​
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                                        Florida Bar No. 1011275
                                        Florida Legal Services
       ​     ​      ​     ​      ​      PO Box 533986
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       ​     ​      ​     ​      By:​   /s/ Pablo Hereter​ ​    ​     ​
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 ​     ​     ​      ​     ​      ​      Attorneys for Plaintiff




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